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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 6:17-cr-282-Orl-37GJK

THEODORE VAZQUEZ


                                       ORDER

      Before the Court is Defendant Theodore Vazquez’s pro se motion for

compassionate release. (Doc. 56 (“Motion”).) The Government responded (Doc. 58) and

Mr. Vazquez replied 1 (Doc. 60). On review, the Motion is denied.

                                 I.     BACKGROUND

      Mr. Vazquez pled guilty to transportation of a firearm across state lines as a

convicted felon. (Docs. 1, 30, 38.) He was sentenced to 180 months’ incarceration on May

14, 2018. (Doc. 44.) Mr. Vazquez is currently incarcerated at FCI Coleman Medium; he

has served less than 3 years of his 15-year sentence with an expected release date of

February 21, 2031. (Doc. 58, pp. 3, 15.) FCI Coleman Medium is suffering an outbreak of

COVID-19, with 34 staff members testing positive and two inmate deaths. 2 (Doc. 58, p.

4.)




      1  Mr. Vazquez’s reply was procedurally improper under Local Rule 3.01(b). But
given his status—both proceeding pro se and as an incarcerated individual—and in the
interests of time, the Court will accept his reply (Doc. 60).
       2      Fed.     Bureau      of    Prisons,     COVID-19   Coronavirus  Cases,
https://www.bop.gov/coronavirus/ (last accessed Nov. 12, 2020).
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       Mr. Vazquez suffers from a number of ailments, including hypothyroidism,

chronic venous insufficiency, a history of bacterial infections and tuberculosis, a bilateral

orchiectomy, edema, an enlarged prostate, and obesity. (See Doc. 56, p. 2; Doc. 59-1, pp.

4–5; Doc. 59-3, pp. 4, 8, 23, 32.) He requested compassionate release from the Warden of

his facility on May 13, 2020, which was denied. (Doc. 56-7, pp. 2–5; Doc. 58-2.) Mr.

Vazquez now asks the Court to order compassionate release under the First Step Act.

(Doc. 56.) Briefing complete, the matter is ripe. (See Docs. 58, 60.)

                                 II.    LEGAL STANDARDS

       The statute governing compassionate release, 18 U.S.C. § 3582(c)(1)(A), as

amended by the First Step Act, prescribes the limited circumstances in which a court may

modify a term of imprisonment. A court may grant a request for compassionate release

if it finds: (1) the defendant has exhausted his administrative remedies with the Bureau

of Prisons (“BOP”); (2) the relevant § 3553(a) factors support release; (3) extraordinary

and compelling reasons warrant compassionate release; and (4) the defendant is not a

danger to the community. See 18 U.S.C. § 3582(c)(1)(A)(i); U.S.S.G. § 1B1.13. The

defendant must show relief is warranted. See United States v. Hamilton, 715 F.3d 328, 337

(11th Cir. 2013).

       The sentencing factors courts consider include the need for the sentence to “reflect

the seriousness of the offense, to promote respect for the law, and to provide just

punishment,” to afford adequate deterrence, and to protect the public. 18 U.S.C. § 3553(a).

And the Sentencing Commission has listed four circumstances that qualify as


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“extraordinary and compelling”: (A) a serious medical condition; (B) advanced age and

deteriorating health; (C) family circumstances; or (D) an extraordinary and compelling

reason other than, or in combination with, (A)-(C), as determined by the Director of the

BOP. See U.S.S.G. § 1B1.13, cmt. n.1; see also Klatch v. United States, No. 8:17-cr-135-T-27JSS,

2020 WL 1694299, at *2 (M.D. Fla. Apr. 7, 2020).

                                      III.    ANALYSIS

       At the outset, the Court notes it may proceed on the merits as the administrative

requirement—the lapse of 30 days from the Warden’s receipt of Mr. Vazquez’s request—

has been met, as the Government concedes. (Doc. 58, p. 12; Doc. 58-2.)

       And, given COVID-19 and his health conditions—especially obesity, which the

Centers for Disease Control and Prevention recognizes as a factor that puts individuals

at increased risk 3—he has shown extraordinary and compelling reasons for relief, as the

Government also concedes. (Doc. 58, p. 12; Doc. 59-1, pp. 4–5; Doc. 59-3, pp. 4, 8, 23, 32.)

       But release is not warranted because the § 3553(a) sentencing factors don’t support

it and Mr. Vazquez poses a danger to the community. He has served less than 3 years of

his 15-year sentence and releasing him now would undermine the need for a just sentence

and one that that promotes respect for the law and is both a general and specific

deterrent—and it would be contrary to Congress’s intentions in setting a mandatory

minimum sentence for his crime. See 18 U.S.C. §§ 922(g)(1), 924(e), 3553(a); (see also Doc.



       3See Ctrs. Disease Control & Prevention, People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (last accessed Nov. 12, 2020).
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41, ¶ 132; Doc. 58, p. 15). And he poses a danger to the community. Mr. Vazquez is a

documented gang member, with a violent criminal history—including a conviction for

witness tampering after he traveled to the witness’s workplace and threated to kill the

witness and his children. (Doc. 41, ¶¶ 36–59); see also United States v. Butler, No. 19 Cr.

834-10 (PAE), 2020 WL 1689778, at *2–3 (S.D.N.Y. Apr. 7, 2020). So the Court will not grant

compassionate release.

       The Court is mindful of the concerns of incarcerated individuals during the

COVID-19 pandemic given the significant health risks to inmates confined in correctional

facilities, especially those with any underlying medical conditions. The Court also notes

the BOP’s extensive and aggressive efforts to mitigate the spread of COVID-19 and

maintain the safety and security of BOP institutions. (See Doc. 58, pp. 4–9); see also Fed.

Bureau           of           Prisons,          COVID-19             Action           Plan:

Phase Five (Mar. 31, 2020), https://www.bop.gov/resources/news/20200331_covid19_a

ction_plan_5.jsp. Given these efforts, the danger Mr. Vazquez poses to the community,

and the § 3553(a) factors, release is not warranted.

                                   IV.    CONCLUSION

       It is ORDERED AND ADJUDGED that Defendant Theodore Vazquez’s Motion

for a Reduction in Sentence Pursuant to the First Step Act and the Changes to the

Compassionate Release Statute and 18 U.S.C. § 3582(c)(1)(A)(i) (Doc. 56) is DENIED.

       DONE AND ORDERED in Chambers in Orlando, Florida, on November 13, 2020.




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Copies to:
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